     Case 8:20-mc-00012-JVS-ADS Document 4 Filed 06/25/20 Page 1 of 3 Page ID #:11




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11
                              UNITED STATES DISTRICT COURT
12
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                      WESTERN DIVISION
14
     UNITED STATES OF AMERICA,                     No. SA MC 20-12 JVS
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                 Plaintiff,
16                                                 CONSENT JUDGMENT
                        v.
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     RAFAEL W. NOVALES,
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                 Defendant.
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20         Having considered the parties’ Stipulation to Entry of Consent Judgment and good
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     cause appearing,
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           IT IS ORDERED, ADJUDICATED AND DECREED:
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24      1. The United States shall have and recover from Defendant RAFAEL W.
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           NOVALES (“Defendant”) the sum of a $48,981.49, representing amount currently
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27         owed under the September 30, 2019 CFTC Order.

28      2. This Court shall have jurisdiction over, and is a proper venue for, this action.
     Case 8:20-mc-00012-JVS-ADS Document 4 Filed 06/25/20 Page 2 of 3 Page ID #:12




1          3. Any stay of enforcement of this judgment under Rule 62(a) of the Federal Rules of
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              Civil Procedure is waived.
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           4. Beginning on the first of the month immediately after the month in which this
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5             Consent Judgment is entered in this case, Defendant shall pay $ 200 every month
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              for 245 months. All payments shall be made to U.S. Department of Justice, with
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8             Defendant’s name and case number identified on the memo line of the check, and

9             mailed to: U.S. Department of Justice, Nationwide Central Intake Facility, P.O.
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              Box 790363, St. Louis, MO 63179-03. Defendant may also make installment
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12            payments online via Pay.gov.

13         5. After 6 months, the United States will re-evaluate Defendant’s financial situation
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              and determine the appropriate amount of monthly payments.
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16         6. Approximately one year from the date of this judgment, the United States will

17            send Defendant a Financial Disclosure Statement which he must complete and
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              return to the United States within two weeks. In addition, Defendant shall provide
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20            the United States documents necessary to complete the evaluation of Defendant’s

21            financial situation.
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           7. After reviewing the Financial Disclosure Statement and other documents, the
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24            United States will contact Defendant regarding the amount of monthly payments

25            to be paid in the following year. Defendant shall make the monthly payments set
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              forth above until notified otherwise by the United States.
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28   ///
     Case 8:20-mc-00012-JVS-ADS Document 4 Filed 06/25/20 Page 3 of 3 Page ID #:13




1       8. This judgment debt will be referred to the Treasury Offset Program and the United
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           States will record abstract of judgment where Defendant has, or may acquire
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           property. Except as set forth herein, as long as Defendant makes the required
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5          monthly payment, the United States will take no other enforcement action.
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        9. Defendant shall have a ten-calendar day grace period to cure any payment default.
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8          If the default is not cured within such time, the United States may seek to enforce

9          this Consent Judgment by all legal remedies applicable to a civil judgment.
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        IT IS SO ORDERED.
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13   Dated: June 25, 2020                         _______________________________
14
                                                  UNITED STATES DISTRICT JUDGE
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16                                                JAMES V SELNA

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